     Case 2:13-cr-02092-LRS   ECF No. 1788   filed 05/21/15   PageID.6963 Page 1 of 4



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 5
 6                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
 7
 8   UNITED STATES OF AMERICA,      )
                                    ) NO. CR-13-2092-LRS-8
 9          Plaintiff,              ) NO. CR-13-2092-LRS-11
                                    ) NO. CR-13-2092-LRS-15
10                                  ) NO. CR-13-2092-LRS-21
                                    )
11                                  )
                                    ) ORDER DENYING DEFENDANTS’
12      v.                          ) MOTION FOR JUDGMENT OF
                                    ) ACQUITTAL OR NEW TRIAL
13   RICARDO GARCIA,                )
     ARIANNA ROSALES,               )
14   RAUL ZARAGOZA ARELLANO, )
     and EXMERALDA GARCIA,          )
15                                  )
                                    )
16          Defendants.             )
     ______________________________ )
17
18        BEFORE THE COURT is Defendant Exmeralda Garcia’s
19   Motion For Judgment of Acquittal or New Trial, ECF No.
20   1763, filed in CR-13-2092-21 on April 20, 2015.                        Co-
21   defendants Ricardo Garcia, Arianna Rosales, Raul
22   Zaragoza Arellano joined in the motion.                     For the
23   reasons stated on the record, and supplemented herein,
24   Defendant Exmeralda Garcia's Motion For Acquittal or
25   New Trial, ECF No. 1763, is respectfully denied.
26        Based on case law, jury instructions given, and the
27   evidence that was presented at trial, Defendants have
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     ORDER - 1
     Case 2:13-cr-02092-LRS   ECF No. 1788   filed 05/21/15   PageID.6964 Page 2 of 4



 1   not met their burden of showing that no jury could find
 2   Defendants guilty, beyond a reasonable doubt, of the
 3   single conspiracy charged in the indictment of theft
 4   from a gaming establishment in excess of $1000.00.
 5   “A single conspiracy exists, as compared with multiple
 6   conspiracies, where there is one overall agreement to
 7   perform various functions to achieve the objectives of
 8   the conspiracy.” United States v. Patterson, 819 F.2d
 9   1495, 1502 (9th Cir. 1987) (quotations and citations
10   omitted). “A single conspiracy may include subgroups
11   and subagreements.” Id. In contrast, “multiple
12   conspiracies require some evidence of separate
13   agreements and purposes.” United States v. Taren-Palma,
14   997 F.2d 525, 530 (9th Cir. 1993), overruled on other
15   grounds by United States v. Shabani, 513 U.S. 10,
16   15 (1994).      It is not necessary that each conspirator
17   “have personal knowledge of each and every actor in the
18   conspiracy, and every act taken in furtherance of the
19   conspiracy” to conclude that the conspirator shares the
20   conspiracy's common purpose. United States v. Daychild,
21   357 F.3d 1082,1098 (9th Cir. 2004).
22        Further, the Court finds that the Fed. R. Evid.
23   404(b) evidence regarding the previously rigged “Hot
24   Seat Promotion” was properly admitted, and the
25   government proved Defendant Exmeralda Garcia was fully
26   aware of the conspiracy and others’ involvement.                        The
27   government elicited evidence of her relationship to
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     ORDER - 2
     Case 2:13-cr-02092-LRS   ECF No. 1788   filed 05/21/15   PageID.6965 Page 3 of 4



 1   Ricardo Garcia and Arianna Rosales.                  Additionally,
 2   Ximena Prieto testified she was in the car with Arianna
 3   Rosales when Rosales told preselected winner Prieto
 4   that “a lot of people” had enabled her to win and that
 5   she had to kick back the majority of her winnings to
 6   pay those people.         Prieto testified that when she
 7   expressed concerns about the situation in the presence
 8   of Defendant Exmeralda Garcia, she [Defendant Exmeralda
 9   Garcia] explained she had won before and nothing had
10   happened.
11         Accordingly,
12         IT IS HEREBY ORDERED:
13         1.   Defendant Exmeralda Garcia’s Motion For
14   Acquittal or New Trial, ECF No. 1763, is respectfully
15   DENIED.
16         2.   Defendant Ricardo Garcia’s Motion for Joinder,
17   ECF No. 1778, filed in 13-CR-2092-8-LRS, is GRANTED;
18         3.   Defendant Arianna Rosales’s expedited Motion
19   for Joinder, ECF Nos. 1780, 1781, filed in
20   13-CR-2092-11-LRS, are GRANTED.
21         4.   Defendant Raul Zaragoza Arellano’s Motion for
22   Joinder, ECF No. 1768, filed in 13-CR-2092-15-LRS, is
23   GRANTED.
24   ///
25   ///
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27   ///
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     ORDER - 3
     Case 2:13-cr-02092-LRS   ECF No. 1788   filed 05/21/15   PageID.6966 Page 4 of 4



 1        IT IS SO ORDERED.          The District Court Executive is
 2   directed to enter this order and to provide copies to
 3   counsel.
 4        DATED this 21st day of May, 2015.
 5
                                       s/Lonny R. Suko
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                              ___________________________________
 7                                     LONNY R. SUKO
                                Senior United States District Judge
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     ORDER - 4
